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            EXHIBIT 3
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC. and                 )
NEW YORK UNIVERSITY                       )
                     Plaintiffs,          )
                                          )
                  v.                      )                  Civil Action No. 1:15-cv-10698
                                          )
CELLTRION HEALTHCARE CO., LTD.,           )
CELLTRION, INC., and                      )
HOSPIRA, INC.                             )
                        Defendants.       )
_________________________________________ )

       PLAINTIFFS JANSSEN BIOTECH, INC. AND NEW YORK UNIVERSITY’S
               OBJECTIONS AND RESPONSES TO DEFENDANTS’
                   FIRST SET OF REQUESTS FOR ADMISSION

        Pursuant to Rule 36 of the Federal Rules of Civil Procedure and Rule 36.1 of the Local

Rules of the United States District Court for the District of Massachusetts, Plaintiffs Janssen

Biotech, Inc. and New York University (collectively, “Janssen”) hereby submit these objections

and responses to the First Set of Requests for Admission (the “Requests”) served by Defendants

Celltrion Healthcare Co. Ltd., Celltrion, Inc., and Hospira, Inc. (collectively, “Defendants”).



                                   GENERAL OBJECTIONS

        Janssen makes the following General Objections, whether or not separately set forth in

response to each request, to each and every instruction, definition, and question posted in the

Requests for Admission:

        1.     Janssen objects to each Request to the extent that it seeks information protected

by the attorney-client privilege, work-product immunity, common interest or joint defense

privilege or any other applicable privilege or protection as provided by any applicable law.



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Janssen further objects to each request to the extent that it seeks information generated by, for, or

at the request to Janssen’s litigation counsel or acquired by said counsel from a source other than

Janssen. Nothing contained in Janssen’s responses is intended to be, or in any way shall be

deemed to be, a waiver of any such applicable privilege or immunity.

        2.     Janssen objects to each Request or definition to the extent that it seeks to impose

on Janssen obligations broader than or inconsistent with the Federal Rules of Civil Procedure,

the Local Rules of the Court, or any standing orders of the Court.

        3.     Janssen objects to each Request to the extent that such Request asks for

information not relevant to the infringement, validity, or enforceability of any patent-in-suit.

        4.     Janssen objects to each Request to the extent that it imposes on Janssen an

obligation to investigate or discover information, materials, or documents that are not in the

possession, custody, or control of Janssen.

        5.     Janssen objects to each Request to the extent that it calls for information not

relevant to any claim or defense in this litigation nor reasonable calculated to lead to the

discovery of admissible evidence.

        6.     Janssen objects to each Request to the extent that it is vague, ambiguous, or

otherwise fails to set forth with reasonable particularity the information requested.

        7.     Janssen objects to each Request to the extent that it prematurely seeks expert

testimony and conclusions, which should be addressed during the scheduled period for expert

discovery.

        8.     Janssen responds to the Requests to the best of its knowledge and only insofar as

it may be deemed to have personal knowledge or information that forms the basis of any

response herein.

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        9.      Any answer or act of production supplied by Janssen that is generally and/or

specifically objected to shall in no way constitute or be construed as a waiver of any such

objection(s) contained herein.

        10.     Nothing in these responses should be construed as waiving any rights or

objections that otherwise might be available to Janssen, nor should Janssen’s answering of any of

these Requests be deemed an admission of relevancy, materiality, or admissibility in evidence of

the discovery or the responses thereto.

        11.     Each of the above General Objections shall be deemed continuing and is

incorporated into the specific responses set forth below, whether or not specifically stated in

response to each Request, and is not waived or in any way limited by the responses below.

        12.     Janssen expressly reserves the right to supplement these General Objections.

        13.     Janssen’s responses are based upon information presently known to it. Janssen

reserves the right to rely on any facts, documents, or other evidence which may develop or

subsequently come to its attention, to assert additional objections, and to supplement these

responses.




                        RESPONSES AND SPECIFIC OBJECTIONS

Request No. 1

        Admit that HyClone’s Cell Media contain proteins (including, but not limited to, proteins

not of animal origin such as recombinant proteins).

Response to Request No. 1

        Denied. HyClone’s Cell Media do not contain proteins of animal origin.

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Request No. 2

        Admit that the ingredient “Insulin-Human Recombinant, Zn (ADCF) (USP/EP)”

contained in HyClone’s Cell Media is a protein.

Response to Request No. 2

        Admitted.

Request No. 3

        Admit that the ingredient “Insulin-Human Recombinant, Zn (ADCF) (USP/EP)”

contained in HyClone’s Cell Media is a recombinant protein.

Response to Request No. 3

        Admitted.

Request No. 4

        Admit that the ingredient “IGF1 W/O BSA (ADCF)” contained in HyClone’s Cell Media

is a protein.

Response to Request No. 4

        Admitted.

Request No. 5

        Admit that the ingredient “IGF1 W/O BSA (ADCF)” contained in HyClone’s Cell Media

is a recombinant protein.

Response to Request No. 5

        Admitted.

Request No. 6

        Admit that “Janssen does not use an embodiment of the ‘083 patent in the production of

Remicade.” See Jan 14, 2016 Ltr. from A. Cohen.

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Response to Request No. 6

        Admitted.

Request No. 7

        Admit that Janssen has not used an embodiment of the soluble compositions recited in

claims 1 or 2 of the ‘083 patent in the production of Remicade® for commercial sale in the

United States.

Response to Request No. 7

        Admitted.

Request No. 8

        Admit that Janssen has not received approval from the FDA to use an embodiment of the

soluble compositions recited in claims 1 or 2 of the ‘083 patent in the production of Remicade®

for commercial sale in the United States.

Response to Request No. 8

        Admitted.



Dated: May 31, 2016                         Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served on the following
counsel for the Defendants by electronic mail on May 31, 2016.

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